       Case 4:18-cv-01766 Document 34 Filed on 07/15/21 in TXSD Page 1 of 3




                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION


 BONNIE ELSDON, et al                            §
                                                 §
 VS.                                             §   C.A. NO. 4:18-cv-1766
                                                 §
 U.S. PHYSICAL THERAPY, INC., et al              §


                 UNOPPOSED MOTION TO SET STATUS CONFERENCE

TO THE HONORABLE UNITED STATES DISTRICT COURT:

        COMES NOW Relator Bonnie Elsdon, and respectfully moves this Honorable Court for

a status conference, as set forth below.

        This matter was filed on May 25, 2018. After amendment of the Complaint on January

23, 2019 (D.E. 5), Motions to Dismiss were filed on October 3, 2019 (by Suzanne Hale (D.E.

15), by The Hale Hand Center Limited Partnership, LLC and U.S. Physical Therapy, Inc. (D.E.

16), and by Rehab Partners #2, Inc., and U.S. Physical Therapy, Ltd. (D.E. 17)). On October 29,

2019, Realtor dismissed without prejudice U.S. Physical Therapy, Ltd., Rehab Partners #2, Inc.,

and Suzanne Hale pursuant to Fed.R.Civ.P., Rule 41(a)(1)(A)(i) (D.E. 21). On November 30,

2020, the Court denied the Motion to Dismiss as to the remaining Defendants U.S. Physical

Therapy, Inc., and The Hale Hand Center Limited Partnership, LLC (D.E. 29).            As soon as

practicable after the parties’ learned of the Court’s Order, those Defendants filed an Answer on

June 29, 2021.

        Given the current posture of the case, Relator respectfully requests a status conference be

set the week of August 16, 2021, forward, or as the Court may otherwise direct, so the Parties


                                                 1
     Case 4:18-cv-01766 Document 34 Filed on 07/15/21 in TXSD Page 2 of 3




may address proceeding without seal in accordance with the Court’s Order of July 18, 2019,

paragraph 3, (while maintaining the seal on the exhibits to the Original Complaint) and to set

scheduling deadlines.

       WHEREFORE, Relator prays the Court grant this Motion, and for all other relief to

which she may be entitled.

                                           Respectfully submitted,

                                           /s/ David S. Toy
                                           David S. Toy
                                           SBN 24048029 | SDTX ID 588699
                                           david.toy@davidtoylaw.com
                                           DAVID TOY LAW FIRM
                                           4309 Yoakum Boulevard, Suite 2050
                                           Houston, TX 77006
                                           Telephone:     713 322 7911

OF COUNSEL:
DO CAMP & THORNTON, P.A.
John Thornton (admitted pro hac vice)
Chase Bank Building, 150 S.E. Second Ave., Ste. 602
Miami, FL 33131
Telephone:    305 358 6600
Facsimile:    305 358 6601
Email: jt@dandtlaw.com

                                                   ATTORNEYS FOR RELATOR
                                                   BONNIE ELSDON

                             CERTIFICATE OF CONFERENCE

       The parties have conferred, and this Motion is unopposed.

                                                   /s/ David S. Toy
                                                   David S. Toy




                                              2
     Case 4:18-cv-01766 Document 34 Filed on 07/15/21 in TXSD Page 3 of 3




                              CERTIFICATE OF SERVICE

       I hereby certify that service of the foregoing was automatically accomplished on all
counsel of record through CM/ECF Notice of Electronic Filing, in accordance with the Federal
Rules of Civil Procedure on this 15TH day of July 2021.

                                                 /s/ David S. Toy
                                                 David S. Toy




                                             3
